
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-273-CV



DON E. FOSTER	APPELLANT



V.



JADENE C. FOSTER 	APPELLEE





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FROM THE 322
ND
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue.



PER CURIAM



PANEL D:	DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: November 12, 2004

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




